

Matter of Brown (2020 NY Slip Op 07656)





Matter of Brown


2020 NY Slip Op 07656


Decided on December 17, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 17, 2020

PM-163-20

[*1]In the Matter of Michael Lawrence Brown, an Attorney. (Attorney Registration No. 5024336.)

Calendar Date: December 14, 2020

Before: Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ.


Michael Lawrence Brown, New Orleans, Louisiana, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Michael Lawrence Brown was admitted to practice by this Court in 2012 and lists a business address in New Orleans, Louisiana with the Office of Court Administration. Brown now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Brown's application.
Upon reading Brown's affidavit sworn to August 28, 2020 and filed October 1, 2020, and upon reading the December 7, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Brown is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Michael Lawrence Brown's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Michael Lawrence Brown's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Michael Lawrence Brown is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Brown is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Michael Lawrence Brown shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








